Case 1:11-cv-10056-TLL-CEB ECF No. 1 filed 01/05/11 Page|D.l Page 1 of 35

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

NoRTHERN DIvIsIoN
JEssICA sPRAGG and
MATTHEW sPRAGG,
Plaintiffs,
sTATE oF MICHIGAN
v. 26TH CIRCUIT CoURT
CASE No. 2010-3713-NH
cHRIsTA WILLIAM, M.D., RICHARD BATES, UsDC, ED MICH ND
M.D., ALPENA REGIoNAL MEDICAL CIvIL No.
CENTER and ALPENA oB/GYN, P.C.
Defendants.

 

NOTICE OF REMOVAL

Defendants Christa Williams, M.D. (Dr. Williarns) and Richard Bates, l\/l..D (Dr. Bates), by
their attorneys, Barbara L. McQuade, United States Attorney for the Eastern District of l\/lichigan,
and Derri T. Thornas, Assistant United States Attorney, Without Waiving any defenses of
insufficiency of process, hereby remove the above-captioned case to the United States District Court
for the Eastern District of Michigan, Northern Division.

l. Dr. Williarns and Dr. Bates are named as defendants in the above¢captioned civil
action, Which is pending in Alpena Circuit Court (26th Circuit Court), a State of l\/Iichigan court, as
case number 2010-3713-NH. Copies of all process, pleadings, and orders received by these named
defendants are attached to this Notice of Removal.

l 2. ' On or about Decernber 20, 2010, the United States Attorney’s Office for the Eastern
District of l\/Iichigan received copies of the First Amended Complaint and original Sumrnons and

Complaint.

 

Case 1:11-cv-10056-TLL-CEB ECF No. 1 filed 01/05/11 Page|D.Z Page 2 of 35

3. The plaintiffs in the state court action seek money damages from the defendants under y
tort claims allegedly arising from medical treatment by Dr. Williams and Dr. Bates.

4. At the time of the events underlying this lawsuit, defendants Dr. Williams and Dr.
`Bates Were employed by Alcona Citizens for Health, Inc., d/b/a Alcona Health Center, a deemed
community health center under the Federally Supported Health Centers Assistance Act of 1992
(FSHCAA), Pub. LaW 102-50l, 42 U.S.C. § 233(g)-(n). Because Dr. Williams and Dr. Bates are
employees of an “entity” Within the meaning of 42 U.S .C. § 233(g), they are deemed to be employees
of the U.S. Public Health Service.

5. The FSHCAA provides that the Federal Tort Claims Act (FTCA), 28 U.S.C.
§§1346(b), 240l(b), 267l~2680, is the exclusive remedy for injuries caused by employees of a
deemed community health center occurring ‘on or after January l, 1993, or When the health center
was deemed eligible for coverage. Alcona Citizens for Health, Inc., d/b/a/ Alcona Health Center,
`Was deemed eligible for FTCA coverage on January l, 2008, and that coverage has continued
Without interruption since that time. Accordingly, under 42 U.S.C. § 233(a) & (g), a claim against
the United States pursuant to the FTCA is the exclusive remedy available to plaintiffs in this case
with respect to the alleged acts or omissions of defendants Dr. Williams and Dr. Bates.

6. Removal of this action to federal district court is made pursuant to 28 U.S.C. §
2679(d)(2). Section 2679(d)(2) provides that, upon certification by the Attorney General or his
g designee that a defendant employee Was acting Within the scope of his or her office or employment
at the time of the incident out of Which the claim arose, any civil action commenced upon such claim
in a State court shall be removed Without bond at any time before trial by the Attorney General to

the district court of the United States for the district and division embracing the place in Which the

 

Case 1:11-cv-10056-TLL-CEB ECF No. 1 filed 01/05/11' Page|D.3 Page 3 of 35

v action or proceeding is pending, which in this case is the Eastern District of Michigan, Northern
Division.

7. Elizabeth J. Larin, Chief, Civil Division, Office of the United States Attorney for the
Eastern District of l\/Iichigan, has certified that at the time of the incident or incidents out of which
plaintiffs claim arose, defendants Dr. Williams and Dr. Bates were acting within the scope of their
employment as federal employees The Certificate of Scope ofEmployment is attached to the Notice
of Substitution of the United States as Defendant, being filed contemporaneously with this Notice
ofRemoval. Section 2679(d)(2) provides that this certification by the Attorney General conclusively
establishes scope of office or employment for purposes of removal.

WI-IEREFORE, the above-captioned action is hereby removed from State court to the United
States District Court for the Eastern District of Michigan, Northern Division.

Respectfully submitted, v
BARBARA L. MCQUADE '

United States Attorney

s/DERRI T. THGMAS
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, Michigan 48226
Phone: (313) 226-9153
E-mail: derri.thomas@usdoj.gov
»(P53439)

Dated: January 5, 2010

 

Case 1:11-cv-10056-TLL-CEB ECF No. 1 filed 01/05/11 Page|D.4 Page 4 of 35

CERTIFICATE oF sERvICE
lt is hereby certified that service ofNotice of Removal and Certificate of Service has this 5th
day of .lanuary, 2011, been made upon all counsel of record, by placing same in an envelope with
appropriate postage, and depositing said envelope in a United States Postal receptacle at Detroit,

Michigan, addressed to:

Clerk of the Court Brian J. Benner & David A. Priehs

Alpena County Circuit Court Attorneys for Plaintiffs

720 W. Chisholm Street 28116 Orchard Lal<e Road

Alpena, l\/lI 49707 Farmington Hills, Ml 48334
s/LINDA AI,I,EN

 

Linda Allen, Legal Assistant
United States Attorney’s Office

 

/

CaS€ 1211-CV-10056-TLL-CEB_ ECF NO. 1 filed 01/05/11 Page|D.B Page 5 Oi 35

»`§

l 248~737~_5544/FAX: 248~737~5545

s'rA'rE or MICHIGAN
m ran cinculr COURT ron ran coiler oF ALPENA
mssch spa/ice £dMATrHEW sPRAGG,
Piaimirfs,
~vs- y l g , l Case Nc. 2010 3713 NH

CH.RISTA WTLLLAMS, M.D., RICHARD BATES, Hon. Michael G. Mack `
M.D., ALPENA R_EGIONAL MEDICAL CENTER
and ALPENA OB/GYN, P.C.,

Defendants.

BRIA_N I. BENNER (P25239)
DAV]D A.'PR]EHS @39606)
Attomeys for Piaintiffs

281 16 Orchard Lake Road'
Farmir)gton Hills, MI 48334

 

4 PLAINTIFFS’ FIRST AMENDED COl\/[PLAINT AND ` _
RELIANCE UPON PREVIOUSLY FILED DE_MAND FOR 'I`RlAL BY JURY

NOW COl\/[E Plaini;iffs herein, by and through their attorneys, Benne`r and Foran and

complain against the above named Defendants, as follows:

.T»

‘ common counts
1. ‘ That at all times relevant hereto, Plaintiff Jessica Spragg is a resident of the City
of Alp ena, County ofAlpena, State of Michigan. '
2. That at all times relevant hereto, Plaintiff Matthew Spragg is a resident of the City
_oi" Alpena, County of Alpena, State ofMichigan and the`hnsband of~.lessica Spragg.

3. That at all times relevant hei'eto, Dei`endant, Alpena Regional Medical Center

’(lierein`after Defendant Hospital) is a municipal health facility corporation organized under the

C~ase 1:11-cv-10056-TLL-CEB ECF No. 1 filed 01/05/11 Page|D.€ Page 6 of 35

l

laws of the State of Micl'iigan which owns and operates Alpena Regional medical Center a/l</a
Alpena General hospital located in the City of Alpenaj County of Alpena, State of Michigan.

4. Tliat at all times relevant hereto, Defendant, Alpena OB/GYN, P.C. (hereinafter
Defendant P.C.), is a professional corporation_organized under the laws of theState‘of Michigan
which owns and operates a medical care facility located in the City of Alpena, County of Alpena,
State of Michigan.

5. l At all times relevant, Defendant Christa Williams, M.D. (hereinafter Defendant
Williams) was a physician licensed to practice medicine in the State of Michigan, board certified
in the specialty of family practice, and engaged in the practice of obstetrics in the County of
Alpena, state of Michigan. §

6. At all times relevant, Defendant Ri`chard Bates, M.D. (hereinafter Defendant
Bates) was a physician licensed to practice medicine in the State of Michigan, board certified in
the specialty of obstetrics and gynecology and engaged in the practice of his specialty in the

County of Alperia, State of Michigan.

7. At all times relevant, there was a professional relationship between Plaintiff _

lessica Spragg and Defendants (aiid/or their agents and employees) pursuant to which
Defendants owed Plaintiff a duty to follow the recognized standard of professional practice or
care in their treatinent~ofPlaintiff.

8. Upon information and belief, vat all times material, Defendants, Willianis and

_ Bates, and nurse midwife Bonnie Baitz, were the agents and/or employees of Deferidant P.C. and

were given professional staff privileges by Defendant Hospital to admit their patients for labor

and delivery including operative delivery.

 

l'Case 1:`11-cv-10056-TL|'_-CEB ECF No. 1 fi|ed,01/O5/11 Page|D.? Page 7 of 35

'\

l

9. That at or about 8200 p.m. on biovember 29, 2008, Plaintiff presented to
Det`endant Hospital inlabor.

10. Defendant Hospital’s nursing staff obtained information from Plaintiff and
contacted Ms. Bartz to notify her of Plaintiff's presentation to Defendant Hospital.

11. At approximately 8:20 p.m., Ms. Bartz performed a sterile vaginal exam and
noted that Plaintiff"s cervix was dilated to 3 cm and 90%~eft`aced With the fetus at 0 station with
a bulging bag of waters Also noted was a positive bloody show.

l 12. At approximately 9:10 p.ni., Ms. Bartz performed a repeat SV`E which revealed
Plaintiff’s cervix was dilated to 4 cm and 90% effaced. l\/Isj Bartz then admitted Plaintiff to
Defendant Hospital for a planned vaginal delivery y

13. Plaintiff' s membranes were artificially ruptured at 1:30 am. on November 30, 4

f" '-2008. The amniot;ic fluid was noted to be clear and without evidence of meconium.

14. At or about 4:00 a.in. on November 30, 2008, Ms. Bartz re~examined Plaintiff and
found her cervix to be iiilly dilated and 010% effaoed. Ms. Bartz then directed Plaintiff to start
pushing

15. Although Plaintiff was noted to make good pushing efforts and trying a number of
different laboring positions, there was an arrest of fetal descent 4

16. Petal heart rate decelerated to 60 bprn during pushing

17. l\/ls. Bartz had Defendant Vi;illiams paged at or about 5:30 a.m. and Defendant
Williams arrived at bedside at or about 05:33.

18. At 05 :5 6 meconium was noted by Defendant Williams during vaginal

examination

 

Case 1:11-cV-10056-TLL-CEB ECF No. 1 filed 01/05/11 Page|D.S Page 8 of 35

it

?

19. Defendant Williarns ordered an ultra sound which revealed that the fetus was
positioned right oceiput posterior with asynclitism.

20. Defendant Williams directed Mrs. Spragg to continue pushing When little
progress in fetal descent was made, Defendant Williatns and Ms. Bartz made six documented
attempts to deliver Plaintiff’s baby with a vacuum extractor, all of Which failed Mrs. Spragg
continued pushing until 408211 when Dr. Williams took her to the operating room for emergent
cesarean delivery.

21. Once in the operating room, Defendant Williarns opened Mrs. Spragg’s
abdominal skin at 08:3'7, opened what she thought was Mrs. Spragg’s uterus at 08:39 and
delivered her baby at 08:40.

22. When Defendant Wil]iams entered the abdominal cavity she failed to identify the
bladder and take necessary steps to protect it by creating a bladder flat, employing a bladder
blade or otherwise

23. Defendant Williams Was disoriented and did not identify and/or was unable to
recognize anatomical structures and landmarks

24. When Defendant Williarns attempted to incise Mrs. Spragg’s uterus, she ‘
negligently cut through the bladder, both the dome and posterior wall.

25. Lilcewise,'Defendant Williams negligently incised the anterior wall of Mrs.
Spragg’s vagina mistal<ing it for the uterus. v

26. The baby was delivered through the anterior wall of the vagina and the rents in
the bladder before Defendant Williains recognized that she had in fact incised M.rs. Spragg’s

bladder and vagina.

 

q

Case 1:11-cv-10056-`|"LL-CEB' ECF No. 1 filed 01/05/11 Page|D.Q 'Page 9 of 35

27. Considerable further trauma was caused to l\/lrs. Spragg’s vagina and bladder by
the action of delivering the fetus through incisions made in them.

28. Upon recognizing that she had incised Mrs. ,Spragg’s vagina and bladder,
Defendant Williarns called for Defendant Bates to assist with the repair of Mrs. Spragg’s bladder
and vagina.

29. Dr. Bates re»sutured the bladder and/or vagina three times before achieving what
he deemed adequate repair. l v l l

30. Tlie injuries caused by Defendants have resulted in scarring and distortion of Mrs.

Spragg’s bladder and vagina.

31. Since her release from Defendant l-Iospital, Mrs. Spragg has suffered serious

v urologic dysfunction including, but not limited to, spasms of the bladder, thinning of the bladder

wall, urine retention, hydronephrosis, incontinence, urgency, urinary tract'infection, frequency,
interstitial cystitis and pain.

32. its a result of the incision and other trauma to her vagina lessica Spragg has
suffered and will in the future suffer pain, including painful intercourse

33. Due to the trauma of the laceration to her vaginal anterior wall, of delivering the
baby through the laceration and the manipulation of those tissues during multiple attempts to
repair the vaginal tissues, Plaintiff has suffered scarring and thinning of her vaginal wall, causing
pain and spasm and foreclosing future vaginal deliveries

34. As a direct and proximate result of the symptoms and conditions described above,

_ Plaintiffs have incurred expenses for their diagnosis and treatment and will incur similar

expenses in the future

 

CaSe lill-CV-lOOBG-TLL-CEB ECF NO. 1 filed 01/05/11` Page|D.lO Page 10 Of 35

a

1

35. As a direct and proximate result of the injuries sustained by Plaintift` and outlined
above, Plaintii`fshave'suffered a loss of earnings and earning potential and will suffer such losses
in the future l

36. Moreover, Plaintiff has suffered does suffer and Will in the future suffer physical
pain, emotional distress, disfigurement and disability from many vocational,' recreational
Household and personal activities as a result of the negligence acts of Defendants as set forth
below.

37. ’l`hat Plaintiffsdwere not negligent or comparatively negligent in the happening of
the above described events.

38. That the medical care and treatment which is at issue in the action Was provided
in the County of Alpena, State of Michigan;

39. That the amount in controversy herein exceeds the sum of twenty“iive thousand
($25,000.00) dollars and this rnatte`r is otherwise Within the jurisdiction of this Court. d

l COUNT I
40. That Plaintiffs herein reassert and reallege each and every allegation contained in

paragraphs one through thirty»nine of this First Ainended Cornplaint as if set forth herein Word

' for Word and paragraph for paragraph

41. 'l`hat at all times relevant hereto, Defendant Williams, a farnily`practitioner,

represented herself as possessing the knowledge skill and training of a reasonably competent

and skilled physician specializing in the care ot` Worrien during pregnancy, the delivery of babies,

both vaginally and by cesarean section, and the diagnosis and treatment of complications and

conditions associated with`pregnancy land the delivery of babies.

 

CaSe 1211-CV-10056-TLL-CEB ECF NO. 1 filed 01/05/11 Page|D.ll Page 11 Of 35

42. That there existed between Plaintit`t` lessica Spragg and Defendant Willia'rns, a
physician~patient relationship during the time Dr. Williarns provided treatment to Mrs. Spragg at
Alpena Regional Medical Center on Novernber 30,2 008.

'43. That Defendant Williams owed to her patients, and to Plaintiff Jessica Spragg
particularly, a duty to_ provide treatment Which met the standard of care and practice for
physicians practicing the specialty of obstetrics, i.e. the care of women during pregnancy, the
delivery of babies, both vaginally and by cesarean section, and the diagnosis and treatment of
complications and conditions associated With pregnancy and the delivery of babies.

44. That Defendant Wiliiams, breached the above described duties and the applicable
standard of care in providing care and treatment to'Plaintiff Jessica Spragg in the following acts,
omissions and failure,' as well as other acts and omissions ivhich» will become known in the

course of discovery:

A. F ailing to seek consultation advice and aid from physicians
having the education, training and experience necessary to
perform emergency cesarean section deliveries

B. Undertaking procedures, surgical or otherwise, which she
Was not qualiHed by cducation, training and experience to
perform, including specifically emergency cesarean
delivery of a crowning baby presenting occiput posterior
with asyclitism following almost four hours of pushing

C. Failing to take care during cesarean delivery to identify and
protect organs and anatomic structures including, but not
limited to the bladder and vagina '

’ D. Failing to create a bladder 'tlap and otherwise protect the
bladder during cesarean delivery, `

E. Failing to know and to recognize anatomic landmarks and
structures so as to be aware of the organs, tissues and
structures Which she encounters and/or incises during
surgery '

 

CaS€_1211-CV-10056-T|_~L-CEB lEC|: NO. 1 filed 01/05/11 Page|D.lZ Pag'e 12 Of 35

l

F.' Undertaking treatment surgical or otherwise, which she did
not have the credentials, privileges and authorization to
perform - '

G. Failing to appropriately deliver by cesarean section a baby
Whose head has descended to +2 station through incision of
the uterus.

H. Incising the bladder and vagina and delivering the fetus
through those incisions during cesarean delivery

l. Failing to correct the malposition of the fetus by use of forceps
or otherwise in order to accomplish a vaginal birth

J. Failing to obtain a cesarean section delivery in a timely manner._
K. Other acts of negligence not presently known

45. That Det`endant Williarns’ above described breaches of the standard of care for

physicians directly and proximately caused the damages described above.

WHEREFORE, Plaintiffs demand judgment against the Det`endants jointly and severally

in whatever amount Plaintift`s are found to be entitled, together with costs, interest and

reasonable attorney fees.
count rr

46. That Plaintiffs herein reassert and_reallege each and every allegation contained in

paragraphs one through forty~five of this First Arnended Cornplaint as if set forth herein word for

word and paragraph for paragraph

47.‘ 'l`hat at all times relevant hereto, Defendant Bates represented himself as

possessing the knowledge skill and training of a reasonably competent and skilled

obstetrician/gynecologist specializing in the care of women during pregnancy, the delivery of
babies, both vaginally and by cesarean section, and the diagnosis and treatment of complications

and conditions associated with pregnancy and the delivery of babies.

 

CaSe 1211-CV-10056-TLL-CEB ECF NO. 1 filed 01/05/11 Page|D.lS Page 1301c 35

48. That there existed between Plaintiff lessica Spragg and Defendant Bates, a
physician~patient relationshipduring the time Dr.' Bates provided treatment ot Mrs. Spragg at
Alpena Regional Medical Center on Novernber 30, 2008.

,49. That Defendant Bates owed to his patients and to Plaintiff Jessica Spragg
particularly, a duty`to provide treatment which met the standard of care and practice for

obstetrician/gynecolo gists.

50, That Det`endant Bates breached the above described duties and the applicable

standard of care in providing care and treatment to plaintiff lessica Spragg in the` following acts,
omissions and failures, as Well as other acts and omissions which will become known in the
course of discovcry:

A. Undertalcing treatment, surgical or otherwise, that he Was
Without the credentials privileges and authorization to
perforrn. 1

B. Failed to seek consultation, advise and aid from physicians
having the education, training and experience necessary to
address complications, injuries and conditions in his
patients when he `Was Without the requisite education,y
training and experience, including consultation with a
urolo gist for repair of a severely lacerated and torn bladder.

C. Failed to use appropriate surgical technique in the repair of
bladder and vaginal lacerations and tears.

D. ln other ways not presently known

51. That Det`endant Bates’ above described breaches cf the standards of care for
physicians directly and proximately caused the damages describedabove.

WHEREFORE, P_laintiffs demand judgment against the defendants, jointly and severally,
in whatever amount Plaintiffs are found to be entitled, together With costs, interest and

reasonable attorney fees.

 

 

l
»
l
l

CaSe 1211-CV-10056-TLL-CEB' ECF NO. 1 filed 01/05/11 Page|D.l4 Page 14 Of 35

1,

COUNT III

52, That Plaintiffs herein reassert and reallege each and every allegation contained in
paragraphs on through rilty~one of this First Amended Complaint as if set forth herein word for
Word and paragraph for paragraph l

53. That at all times relevant hereto, Defendant l’.C., held itself out as a professional
corporation which Would provide to persons, and particularly the Plaintiff, proper and timely
surgical and medical care and treatment including obstetric oare, by competent skilled and well-
trained physicians

54. That from the time of her presentation to Defendant P.C., Plaintiff relied upon the
Defenda'nt P.C. to provide qualitied, knowledgeable and adequately trained physicians and other
health care providers to treat her and to otherwise provide to her an appropriate level of care.

55 . ’l'hat at all times relevant hereto, each of the individuals identified as Defend_ants
in this action, including Defendants Williams and Bates land other as yet unnamed persons
responsible for eating for Plaintiff, Were employees and/or agents of the Defendant P.C., acting
in the course and scope of that employrnent/agencyv

56. That the Defendant, P.C., is vicariously liable for the negligence, medical
malpractice and/or professional negligence of Dei`endants Williams and Bates described
previously as well as the negligence and professional negligence of other of its employees and
agents, as set forth in Count I.

l 5 7. l\/loreover, Defendant P.C., by and throiigh~ its employees and/or agents Was
independently negligent and/or committed medical malpractice in the following particulars, as
Well as others Which vvill be revealed in the course of discovery:

A. ln negligently and/or fraudulently holding Defendant
Willia;rns out to patients, including but not limited to

-10_

 

CaSe 1211-CV-10056,-TLL-CEB ECF NO. 1 filed Ol/O5/11 Page|D.l5 `Page 15 Of 35

l

Plaintiff, as having the education, training knowledge and
skill of a specialist_in obstetrics when in fact Defendant
Williams had not completed the training_necessary and/or
did not have the knowledge skill and experience required
to perform an emergency cesarean section delivery under
the facts and circumstances of this case

B. In negligently failing to have and enforce policies and
procedures requiring Defendant Williams to seek assistance
and/or direction from a qualified and experienced
obstetrician before performing an emergency cesarean
section on Plaintifi`.

C. In other ways not presently known

58. ` That Def`endant P.C.’s above described negligence and/or breaches of the standard
of care were a direct and proximate cause of injury and damage to Plainti£t` as described abovel
WHEREFORE, Plaintiffs demand judgment against the defendants jointly and severally

in whatever amount Plaintiffs are found to be entitled together with costs, interest and

reasonable attorney fees.

- COUNT IV
59. That Plaintiffs herein reassert and reallege each and every allegation contained in

paragraphs one through fli’ry~eight of this First Amended Complaint as if set forth herein word

v for word and paragraph for paragraph

60. That at all times relevant hereto, Defendant, Alpena Regional medical Center,
a/k/a Alpena General#Hospital, held itself out as a facility which Would provide to persons,_ and
particularly the Plaintit`f, proper and timely obstetric, surgical»and medical care and treatment by
competent, skilled and appropriately trained physicians

61. l 'l`hat Plaintit`fl relied upon the Defendant, Alpena Regional Medical Center to
provide qualified knowledgeable and adequately trained physicians and other health care

providers to treat her and to otherwise provide to her an appropriate level of care.

;11_

 

1 `Case 1:11-cv-10056-TLL-CEB ECF No. 1 filed 01/05/11. Page|D.l€ Page 16 of 35...

l

62. That at all times relevant hereto, Defendants Williams and Bates and other as yet
unnamed persons responsible for caring for Plaintiff, were employees and/or agents, either'real
or ostensible, of the Defendant Alpena Regional Medical Center acting in the course and scope
of their employment/agency

63. That the Defendant, Alpena Regional Medical Center is vicariously liable for all
damages suffered by the Plaintiff as a result of the negligence medical malpractice and/or
professional negligence of Defendants Williams and Bates described previously 'Moreover,
Defendant 'Hospital was independently negligent and/or committed medical malpractice in the
following particulars: as Well as others which Will be revealed in the course of discovery:

A. In failing to have and enforce appropriate bylaws, policies
and procedures to ensure its staff physicians are competent
to perform optimum medical care in accordance With
applicable standards of practice

B. `ln failing to supervise, properly select and/or employ,
and/or monitor its employees, agents and professional staff
including but not limited to Defendants_ Willian)s and
Bates

C. In negligently giving privileges to perform emergency
cesarean section deliveries to Defendant Williams.

D, v in negligently failing to have and enforce appropriate
policies and procedures including but not limited to
pursuing patient advocacy by following the chain of
command where indicated and under the facts of the case

E. ln negligently granting privileges to Defendant Bates to
perform complex surgical repair of injuries to the bladder
. and/01 vagina as presented by the facts of this case.

‘F. -ln other Ways not presently known

64. '].`hat Alpena Regional medical Center’sabove described beaches of the standard

of care and negligence directly and proximately caused the damages described above.

wigs

 

 

Case l:ll-cv-lOOBG-TLL-CEB `ECF No. 1 filed 01/05/11 Page|D.l? Page 17 of 35

65. That Alpena Regional l\/Iedjcal Cente_r held out and provided Defendant Wllliams,
Defendant Bates and other staff members, employees and agents as Well trained, experienced and
competent to treat its patients, and specifically Plaintifflessica Spragg.

6a rha 'nefendant, Aipena aegioiiai medical center owed to the Piaimiffs a duty to
select, employ, and retain only competent physicians and to use reasonable care in the issuance,
extension and continuation of medical staff privileges to members of its medical staff`, including
specifically Defendant Williams and Defendant Bates.

67. That the Defendant Alpena Regional Medical Center breached the above
described duties and Was negligent When it failed to use reasonable care and diligence in the
investigation, granting, extension and continuation of medical staff privileges to Defendant

Willjarns and Defendant Bates. Such Negligence includes, but is not limited to, failing to

>coniinn/verify their educational background training, and/or experience, post graduate training, ~

board certification previous surgical experience, surgical outcomes, incidence of complications,

current clinical competence, reputation, past professional affiliations and employment

experience
68. Tliat the above described breaches of duties by Def`endant Alpena Regional
Medical Center Were a direct and proximate cause of` the damagessustained by the Plaintiffs.
WHEREF_ORE, Plaintiffs demand judgment against the Defendants jointly and severally
in Whatever amount Plaintiffs are found to be entitled together with costs, interest and

reasonable attorney fees '

“13-

 

CaSe 1211-CV-10056-TLL-CEB ECF NO. 1 filed'Ol/OB/ll Page|D.lS Page 18101°35

t

CouN'r v f
69. That Plaintiffs herein reassert and reallege each and every allegation contained in
paragraphs one through sixty~eight of this_First Arnended Complaint as if set forth herein word
for vvord and paragraph for paragraph
_ 70. t 't`hat at all times relevant hereto, Plaintiff Matthevv Spragg, is the lawful husband
and spouse of`Plaintift`.lessicaSpragg.
71. ' 'l`hat as a direct and proximate result of the aforesaid injuries sustained by lessica
Spragg, Matthew Spragg has suffered the loss of society,' services, companionship, comfort and
'_ consortium of lessica Spragg and that said damages Will continue into the future l
Wherefore, Plaintiffs demand judgment against the Defendants in whatever amount
Plaintiffs arc found to be entitled, together With costs, interest and reasonable attorney fees.

raw cartons on
sunnen AND_ PORAN _ f

;Mm

RJ`.AN J. BENNER (P25239)
DAvro A. raises o>39606)
Attorneys for Plaintiffs »

28116 Orchard Lakc Road
. Famu`ngton I~lills, MI 48334 y
248-737~5544/FAX: 248~737-5545 l
Dated: November 24, 2010 ~ `

RELIANCE UPON PREVIOUSLY FILED vDEl\/IAND FOR 'I`RIAL BY JURY

NOW COME Plaintiffs herein, by and through their attorneys, Benner and Foran, and
hereby relies upon their previously filed demand for trial by jury, previously filed in the above

entitled cause_

-14+

 

 

CaSe 1211-_CV-10056-TLL-CEB ECF NO. 1 filed 011/05/11 Page|D.lQ Pdgé 19 Of 35

q

Dated: November 24, 2010

LAW OFPICE_S GF:
BENNER AND FORAN

'- /""~ H

/%/ .
BRLACN/JFSENNBR @25239)
DAVID A. PRIEHS (P39606)
Attomeys for Plaintiffs
28116 Orch_ard Lake Road
Farmington Hills, Ml 48`334
(248) 737-5544

 

- 15a

 

Case 1:11;cv-10056-TLL-CEB ECF No. 1 filed 01/05/11 Page|D.ZO Page 20 of 35

 

 

 

 

 

 

0"l-cn ' d - "
Approved. SCAO . tsilg¢igia)y ~ gigl’endant §le cii)°;ii¥-' titat;i]iirliiff
STATE OF MlCHlGAN CASE NO.
. JUD|C\AL DlSTRlCT .
COUNTY PROBATE
Court address 720 W. Chisholm Street,Alpena, Ml 49707 l Court telephone no.
989-3 $4-9520
Plaintitt’s name(s), address(es), and telephone no(s). Delendant's name(s), address(es). and telephone no(s).
v ‘ '

Jessica Spragg and Matthew Spragg l Chl_ista Wiuiams, MD _

1 1185 US Highway 23 North
_ . l § Alpena, MI 49707
Piaintlfi‘s attomey, bar no., address. and telephone no. ' 989-356~4049

Brian J. Benner (P25239)

David_A. Priehs (P39606)

28116 Orchard I.ake Road

Farmington Hills, MI 48334 248-737-5544

NO.T|CE TO THE DEFENDANT: in the name of the people ot th‘e State of Nlichlgan you are notified:
1. You are being sued.

2. YOU HAVE 21 DAYS afterreceiving this summons to file a written answerwith the court and serve a copy on the other party

or take other lawful action with the court(ZB days it you were served by mail oryou were served outside this state). (MCR 2.111[0])

3. if you do not answer or take other action within the time allowed, judgment may be entered against you for the relief demanded
in the complaint.

issued , This summons expires Court clerk _ o l ' l l
loan 40 /i /-» as en /?W {M

‘T his summons is` invalid unless served on"or before its expiration date.
This document must be sealed by the seal of the ccurt.

' COMPLAINT Inst‘mction: The following is information lhatls required to be in the caption ofeverycomplainland is to be completed
by the plaintiff Actual allegations and the claim for relief must be stated on additional complaln¢ pages and attached to this fonn,
Famtly Division Cascs ‘

l:l There is no other pending orresolved action within thejurisdiction otthe familydivision of circuit courtinvo|ving the familyor family
members of the parties. '

l:l An action within thejurisdictlon ofthe family division of the circuit court involving the family or family members of the parties has
been previously filed in ' ' Court.

The action [:l remains ' l:l is no longer pending. The docket number and thejudge assigned to the action are:
Docket no. - Judge

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Bar no.'

 

 

 

General Civil Cases

There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in.the complaint
l:] A civil action between these parties or other parties arising cut of the transaction or occurrence alleged in the complaint has

 

 

 

 

 

 

 

 

been previously filed in Court.

The action l'_`] remains ij is no longer pending. The docket number and the judge assigned to the action are:

Docket no. Judge . Bar no. ' _
lVENUE l v t

Platntiff(s) residence (include city, township, or village) Defendant(s) residence (include city, township, or village)

Alpena, Alpena County, Michigan Alpena, Alpena County, Michigan

Place where action arose or business conducted ~

Alpena, Alpena County, Michigan l l

 

 

q
October 27, 2010 law A- c;Q/)\/\J\J »
gate Sigriature ot attomeyllp(aintitf Brian J, Benner _P25239
liyou require special accommodations to use the court because of a disability or ifyou require aforeign language interpreter to help
you fully participate in court proceedings please contact the court immediately to make arrangements

nc 01 (3/08) SUMMONS AND COMPLA!NT MCR 2.102(8)(11), MCR 2.104, McR zios. McR 2.107. McR 2.113(<:)¢2)(ay. (b), McR a.zoe(A)

 

urwpv uroour"l onv

xeAlQQ x'e.r 7nnr*)- nova mv vr:c~r,:rr nrnv/o/vr m'\my\ m'rmm mmnvu

 

CaSe 1211-CV-10056-TLL-CEB ECF NO. 1 filed 01/05/11 Page|D.Zl Page 21 Oi 35

sTATE 01= MICPHGAN
rn THE ancur_r count ron me correr or ALPENA
rossch SPRAGG and MATTHEW SPRAGG,
' Piainriffs, ,
-vs- ' . ' caseNo. 2010 zjl 3 NH
‘§i“§f°"§hwa?i‘l§_§§§§§t §§DH§`¢§’£ §Z§§t MiCHAEL. e MACK

and ALPENA OB/GYN, P. C.,

Dofendants.

 

BRIAN J. BENNER (P25239)
DAV]D A PRJEHS (P39606)
Attorneys for Plaintift`s{ "
28116 Orchard Lakc Roac_l
Far`mington Hills, MI 48334
248~737-5544/FAX: 248-737-5545
' /

 

PLAINTIFFS’ COMPLAINT AND DEMAND FOR. TRIAL BY JURY

THE.R_E IS NO OTHER CIVIL ACTION BETWEEN THESE PARTIES
ARISING OU'I` OF THE SAME 'I'R.ANSAC'I'ION OR OCCURR_ENCE' AS
ALLEGED ]N THIS COMPLAINT PENDING IN THIS COURT, NOR HAS
ANY SUCH `ACTION BEBN PREVIOUSLY FILED AND DISMISSED OR
TRA.NSFER.RED AFI'ER HAV[NG BEEN ASSIGNED TOA JUDGE, NOR
DO I.KNOW OF ANY OTHER CIVIL ACI`ION, NOT BETWEEN 'I'HESE
PART[ES, AR.ISING OU'I`_ OF THE SAME 'I'RANSAC'I`ION OR
OCCURR.ENCE AS ALLEGED IN THIS COM?LAINT~THAT IS EI'I`HER
PENDING OR WAS PREVIOUSLY F[LED AND DISMISSED,
TRANSFERRED OR OTHERWISE DISPOSED OF AFTER HAVINGBEEN
ASSIGNED TO A IUDGE IN THIS COURT.

 

DAVID A. PRIEHS (P39606)
Attorneys for Plaimiffs

 

" CaSe lill-CV-lOOBG-TLL-CEB ECF NO. lf|_ filed 01/05/11 Page|D.22 Page 22 Ol 35

».' ii ' q gi ~] z

Now coME maintain herein by and through their anomeys, sennet- and rem and

complain against the above named Dcfendants, as follows:
_C._Q_MLM_§_Q;.U_I`Il-`.S.

l. v'l`hat, at all times relevant hcrcto, Plaintifjf Jcssica Spragg is a resident of the City
of Alpcna, County of Alpena, State of Miclngan. l

'2. 'l`hat at all times relevant hcreto, PlaintilfMatthcw Spragg is a resident of the City
of Alpcna, County of Alpona, State ofMichigan and the husband oflessica Spragg.

3. That at all times relevant hereto, Dcfendant, Alpcna chional Modical Ccntcr
(hcrcinaher Dcfcndant Hospital) is a municipal health facility corporation organized under the
laws of the State of Michigan which owns and operates Alpena chional medical_Ccn'tcr a/k!a
Alpcna Gcncral hospital located in the City of Alpcna, County of Alpcna, State of Michigan.

4. That at all times relevant hereto, Defcndant, Alpena OB/GYN, P.C. (hereinaf’cer
Dcfcndant P.C.), is a professional corporation organized under the laws of the State of Michigan
which owns and operates a medical care facility located in the City of Alpcna, County of Alpcna,
Statc of Michigan. 4

5. At all times relevant, Defendant Christa Williams, M.D. (hcreinafcer Det`endant
WiHiamsl was a physician licensed to practice medicine in the State of Michigan, board certified
in the specialty of fannlylpracticc, endangeng in the practice of obstetrics in the County of
Alpena, state ofMichigan. y

6. At all times relevant, Dcfcndant Richard Batcs, M.D. (hcrcinafccr Dcfcndant

' Batcs) was a physician licensed to practice medicine in the State of Michigan, board certified in
the specialty of ob'stcm`cs and gynccology and engaged in the practice of his specialty in the

County of Alpcna, Statc ofMiohigan.

 

CaS€ 1211-CV-10056-TLL-CEB ECF NO.'i filed 01/05/11 Page|D.23 Page 23 Of 35

-F' t § x

l7. At all times relevant, there was a‘professional relationship between Plaintift` _
. lessica Spragg and Defendants (and/or their agents and employees) pursuant to which

Defendants owed Plaintift` a duty to follow the recognized standard of professional practice or '

care in their treatment of P_laintiff.

8. Upon information and belief, at all times material, Defendants, Williams and

g Bates, and nurse midwife Bonnie Baitz,,were the agents and/or employees of Defendant P.C. and

were given professional staff privileges by Defendant Hospital to admit their patients for labor
and delivery including operative delivery.

9. That at or about 8:00 p.rn. on November 29, 2008, Plaintift` presented to
Defendant Hospital in labor. '_ d

lO. Defendant Hospital’s nursing staff obtained information vfrom Plaintift` and
contacted Ms. Bartz to notify her of Plaintiff’ s presentation to Defendant Hospital.

ll. At approximately 8:20 p.ni., Ms. Bartz performed`a sterile vaginal exam and
noted ever Piei.-een’e eervix wee aimed re 3 em end 90% erreeea with are feres er 0 station wine
a bulging bag of waters. Also noted Was a positive bloody show. l

12, At approximately 9:10 p.m., Ms. Bartz performed a repeat SVE which revealed
Plaintiff’s cervix was dilated to 4 cm and 90% etfaeed. Ms. Bartz then admitted Plaintiff to
Defendant Hospital for a planned vaginal delivery.

13. Plaintiff’s membranes were artificially ruptured at 1230 a.m. on Novernber 30,
2008. The amniotic fluid was noted to be clear and without evidence of meconiurn.

14. At or about 4:00 a;m. on November 30, 2008, Ms. Bartz re-examined Plaintiff and

found her cervix to be fully dilated and 010% effaced. Ms. Bartz then directed Plaintiff to start

pushing

'-.,. 3 ,....;

 

Caee 1211-CV-10056-TLL-CEB ECF NO. 1 filed Ol/O5/ll Page|D.24 Page 24 Of 35

lS.v Although Plaintiff was noted to make good pushing efforts andtrying a number of
different laboring _positions, there was an arrest of fetal descent

16. Fetal heart rate decelerated to 60 bpm dining/pushing

17. lvls. Bartz had Defendant Williams paged at or about 5:30 a.m. and Defendant
Williams arrived at bedside at or about 05:33.

18. At OS:Sb meconium was noted by Defendant Williams during vaginal
examination

19. Defendant Williams ordered an ultra sound which revealed that the fetus was

g positioned right occiput posterior with asynclitisrn. y

20. "Defendant Williams directed Mrs. Sp_ragg to continue pushing When little
progress in fetal descent was made, Defendant Williarns and Ms; Bartz made six documented
attempts to deliver Plaintiff’s babyl with a vacuum extractor, all of which failed M\s. Spragg
continued pushing until 08111 when Dr. Wiliiams took her to the operating room for emergent
cesarean'delivery. l v n

21. Once in the operating room, Defendant ,Williams opened Mrs. ,Spragg’s
abdominal skin at 08:37, opened what she thought was Mrs. Spragg’s uterus at 08:39 and
delivered her baby at 08:40.

22. When Defendant Williams entered the abdominal cavity she failed to identify the
bladder and take necessary steps to protect it by creating a bladder flat, employing a bladder
blade or otherwise l

23. Defendant Williarns was disoriented and did not identify and/or was unable to

recognize anatomical structures and landmarks

 

Case 1:11-cv-10056-TLL-CEB ECF No. 1 filed 01/05/11_ Page|D.ZB ' Page 25 of 35

g ,",.4 ’t

24. When Det`endant Williarns attempted to~ incise Mrs. Spragg’s' uterus, she
negligently cut through the bladder, both the dome and posterior wall.

25. Likewise, Det`endant Williarns negligently incised the anterior wall of Mrs.
Spragg’s vagina rnistaking it for the uterus.

26. The baby was delivered through the anterior wall of the vagina and the rents in '
the bladder before Defendant Williams recognized that she had in fact incised _Mrs. Spragg’s
bladder and vagina. l 4

27. Considerable further trauma was caused to Mrs. Spragg’s vagina and bladder by
the action of delivering the fetus through incisions made in them. \

28. Upon recognizing that she had incised Mrs. Spragg’s vagina and bladder,
Defendant Williams called for Defendant Bates to assist with the repair of Mrs. Spragg’s bladder
and vagina.

29. Dr. Bates re-sutured the bladder and/or vagina three times before achieving what
he deemed adequate rcpair.

30. The injuries caused by Defendants have resulted in scarring and distortion of Mrs.

. Spragg’s bladder and vagina.

31. Since her release from Defendant Hospital,` Mrs. Spragg" has suffered serious
urologic dysfunction including, but not limited to, spasms of the bladder, thinning of the'bladder
wall, urine retention, hydronephrosis, incontinence, urgency, urinary tract infection, t`requency,
interstitial cystitis and pain.

32. As a result of the incision and other trauma to her vagina lessiea Spragg has

suffered and will in the future suffer pain, including painful intercourse

 

CaSe 1211-CV-10056-TLL-CEB ECF NO. 1 filed 01/05/11 Page|D.ZG Page 26 Of 35 ~

¢,' ,”. l

33. Dne to the trauma of the laceration to her vaginal anterior wall, of delivering the
baby through the laceration and the manipulation of those`tissues during multiple attempts to
repair the vaginal tissues Plainti£t` has suffered scarring and thinning of her vaginal wall, causing
pain and spasm and foreclosing future vaginaldeliveries.

34. As a direct and proximate result of the symptoms and conditions described above,
Plaintiffs have incurred expenses for their diagnosis and treatment and will incur similar 1
expenses in the future. l

35. As a direct and proximate result of the injuries sustained by Plaintiff and outlined
above, Plaintiffs have suffered a loss of earnings and earning potential and will suffer such losses
in the future

3a Moreover, raises has Sua"ered, does sane ana win in the alma guam physical
pain, - emotional distress, disfigurement and disability nom many vocational, recreational
Household and personal activities as a result of the negligence acts of Defendants as set forth
below.

37. That Plaintift`s were not negligent or comparatively negligent in the happening of
the above described events

38. That the medical care and treannent which is at issue in the action was provided
in the County of Alpena, State ofMichigan.

4 39. That the amount in controversy herein exceeds the sum of twenty~.iive thousand

($25,000.00) dollars and this matter is otherwise within the jurisdiction of this Court.

 

CaS€ 1211-CV-10056-TLL-CEB ECF NO. 1 filed Ol/_OB/ll Page|D.Z? Page 27 va 35

COUN'I` I

40. That Plaintiffs herein reassert and reallege each and every allegation contained in
paragraphs one through thirty-nine of this Complaint as if set forth herein word for word and
paragraph for paragraph

41 . That at all times relevant hereto, Defendant Williams, a family practitioner,
represented herself as possessing the knowledge, skill and training icf a reasonably competent
and skilled physician specializing in the care of women during pregnancy, the delivery of babies,
both vaginally and by cesarean section, and the diagnosis and treatment of complications and
conditions associated with pregnancy and the delivery of babies. 4 l

42. That there existed between Plaintiff Jessica Spragg and Defendant Williams, a

v physician-patient relationship during the time D_r. Williams provided treatment to Mrs. Spragg at l
Alpena» hegional Medical Center on November 30,2 008.

43. That Defendant Williams owed to her patients, and to Plaintiff lessica Spragg

-particularly, a duty to provide treatment which met the standard of care and practice for '

` physicians practicing the specialty of obstetrics, i`.e. the care of women during pregnancy, the
delivery of babies, both vaginally and by cesarean section, and the diagnosis and treatment of
complications and conditions associated with pregnancy and the delivery ofbabies.

44. That Defendant Williams, breached the above described duties and the applicable
standard of care in providing care and treatment to Plaintiii` lessica Spragg in the following acts,
omissions and failure, as well as other acts and omissions which will become known in the
course of discovery:

A. Failing to seek consultation_, advice and aid from physicians

having the education, training and experience necessary to
perform emergency cesarean section deliveries

 

Case 1:11-cv-_10056-TLL-CEB ECF No. 1 filed 01/05/11 Page|D.ZS Page 28 of 35

B. Undertaking procedures, surgical o'r otherwise, which she
was not qualified by education, training and experience to
perforrn,, including specifically emergency cesarean
delivery of a crownng baby presenting occiput posterior
with asyclitisrn following almost four hours of pushing

C. Failing to take care during cesarean delivery to identify and
protect organs and anatomic structures including, but not
limited to the bladder and vagina ,

D. Failing to create a bladder flap and otherwise protect the
bladder during cesarea.n delivery.

E. Failing to know and to recognize anatomic lande land
structures so as to be aware of the organs, tissues and
structures which she encounters and/or incises during

surgery.

F. Undertaking treatrnent, surgical or otherwise, which she did
not have the'credentials, privileges and authorization to'
perform. v ` ~

G. Failing to appropriately deliver by cesarean section a baby
whose head has descended to +2 station through incision of
the uterus. ' "

H. lncising the bladder and vagina and delivering the fetus
through those incisions during cesarean delivery.

l. Other acts of negligence not presently known

45. That Defendant Williarns’ above described breaches of the standard of care for ‘-
physicians directly and proximately caused the damages described above. 4
WHEREFORE, Plaintiffs demand judgment against the Defendants jointly and severally
in whatever amount Plaintiffs are found to be entitled, together with costs, interest and
reasonable attorney fees.
COUNT II
46. That Pla'intiffs herein reassert and reallege each and every allegation contained in

paragraphs one through forty-five of this Complaint as if set forth herein word for word and

paragraph for paragraph

 

CaSe lill-CV-lOOBG-TLL-CEB ECF NO. l filed 01/05/11 Page|D.ZQ Page 29 Of 35

47. That at all times relevant hereto, Defe'ndarit Bates represented himself as
possessing the knowledge, skill and training of a reasonably competent and skilled
obstetrician/gynecologist specializing in the care of women during pregnancy, the delivery of
babies, both vaginally and by cesarean section, and the diagnosis and treatment of complications
and conditions associated with pregnancy and the delivery ofbabies.

' 48. That there existed between Plaintiii` Jessica Spragg and Defendant Bates, a
' physician~patient relationship during the time Dr. Bates provided treatment ot Mrs. Spragg at
Alpena Regional Medical Center on November 30, 2008.

d9. That Defendant Bates owed to his patients and to Plaintiff Jessica Spragg
paiticularly, a duty to provide treatment which met the standard of care and practice for
obstetiician/gynecologists.

50. v That Defendant Bates breached the above described duties and the applicable
» standard of care in providing care and treatment to plaintiff Jessica Spra-gg in the following acts,
omissions and failures, as well as other acts and omissions which will become known in the
course of discovery:
A. Undertaking treatment, surgical or otherwise, that he was

without the credentials, privileges and authorization to
perform.

B. Failed to seek consultation7 advise and aid from physicians
having the education, training and experience necessary to
address complications, injuries and conditions in his
patients when he was without the requisite education
training and experience, including consultation with a
urologist for repair of a severely lacerated and torn bladder.

C. Failed to use appropriate surgical technique' m the repair of
bladder and vaginal lacerations and tears.

D. -In other ways not presently lcnown.

i’='"

CaSe lill-CV-lOOBG-TLL-CEB ECF NO. 1 filed 01/05/11 Page|D.SO Page 30 Of 35 `

l `_ l

51. That Det`endant Bates’ above described breaches of the standard of care for
physicians directly and proximately caused the damages described above

WHEREFORE, Plainti'ffs demand judgment against the defendants, jointly and severally,
in whatever amount Plaintifl`s are found to - be entitled, together with costs, interest and
reasonable attorney fees.

coUNT m `
52. That Plaintifi's herein reassert and reallege each and every allegation contained in
paragraphs onthrough lifty~one of this Con_iplaint as if set forth herein word for word and
paragraph for paragraph l

53. That at all times relevant hereto, Defendant P.C., held itself out as a professional
corporation which would provide to persons, and particularly the Plainu`t}`, proper and timely
surgical and medical care and treatment, including obstetric care, by competent, skilled and well-
rrained physicians '

54. That from the time of her presentation to Defendant P.C., Plaintiff relied upon the
Defendant P.C. to provide qualiiied, knowledgeable and adequately trained physicians and other
health care providers to treat her and to otherwise provide to her an appropriate level of care.

'55. That at all times relevant hereto, each of the individuals identifiedas De_fendants

. in this action, including Defendants Williams and Bates and other as yet unnamed persons

responsible for caring for Plaintiff, were employees and/or agents of the Det`endant P.C., acting
in the course and scope of that employment/agency

56. That the Defendant, P.C., is vicariously liable for the negligence, medical

malpractice and/or professional negligence of Defendants Williams and Bates described

1a

 

CaSe 1211-CV-10056-TLL-CEB ECF NO. 1 filed 01/05/11 Page|D_.31 Page 3»1 Of 35

y x "‘. .

previously as well as the negligence and professional negligence of other of its employees and
bagents, as set forth in Count I. .
_` 57 . Moreover, Defendant P.C., by and through its employees and/or agents was
independently negligent and/or committed medical malpractice in the following particulars, as
y well as others which will be revealed in the course of discovery'.

A. Iu negligently and/or fraudulently holding Defendant
Williams out to patients, including but not limited to
Plaintit`f, as having the education, training, knowledge and
skill of a specialist in obstetrics when in fact Dct`endant
Williams had not completed the training necessary and/or
did not have the knowledge skill and experience required
to perform an emergency cesarean section delivery under
the facts and circumstances of this case.

B. In negligently failing to have and enforce policies and
4 procedures requiring Defendant Williams to seek assistance
and/or direction from a' qualified and experienced
obstetn'cian before performing an emergency cesarean
section on Plaintift`. `

C. In other ways not presently known

58. That'Defendant P.C.’s above described negligence and/or breaches of the standar
of care were a direct and proximate cause of injury and damage to Plaintiff as described above.

WHEREFORE, Plaint:itl`s demand judgment against the defendants jointly and severally
in whatever amount Plaintiffs are found to -be entitled, together with costs, interest and
reasonable attorney'fees,

COUN'I' IV

59. t Tha`tPlaintiffs herein reassert and reallege each and every allegation contained in

paragraphs one through fifty-eight of this Co`mplaint as if set forth herein word for word and

paragraph for paragraph

 

CaSe lill-CV-lOOBG-TLL-CEB ECF NO. l filed 01/05/11 Page|D.SZ Pagé 32 Of 35

60. That at all times relevant hereto, Defendant, Alpena Regional medical Center,"

a/k/a Alpena General Hospital, held itself out as a facility which Would provide to persons, and
particularly the Plaintifi', proper and timely obstetric, surgical and medical care and treatment by
competent, skilled and appropriately trained physicians

61. That Plaintiff relied upon the Defendant, Alpena Regional Medical Center to
provide qualified, browledgeable and adequately trained physicians and other health care
providers to treat her and to otherwise provide to her an appropriate level of care.

62. ' That at all times relevant hereto, Defendants Williams and Bates and other as yet
unnamed persons responsible for caring for Plaintiff, were employees and/or agents, either real
or ostensible, of the Defendant Alpena R.egional Medical Center acting in the course and scope
of their employment/agency v

63. rim we oefendanr, Alpena aegional Medicn center is vicariously liable for 311
damages suffered by the Plaintiil`. as a result of the negligence, medical malpractice and/or
professional negligence of Defendants Williams and Bate_s described previously Moreover,
Defendant Hospital was independently negligent and/or committed medical malpractice in the
following particulars: as well as others Which will be revealed in the course of discovery:

A. ln failing to have and enforce appropriate hylaws, policies
and procedures to ensure its staff physicians are competent

__to perform optimum medical care in accordance with
applicable standards of practice

B. In failing to supervise, properly select and/or employ,
and/or monitor its employees, agents and professional staff
including but not limited to Defendants Williamsl and
Bates.

C. ln negligently giving privileges to perform emergency
cesarean section deliveries to Defendant Williams.

D. In negligently failing to have and enforce appropriate
policies and procedures including but not limited to

-12-

 

CaSe 1211-CV-_10056-TLL-CEB ECF NO. 1 _ filed 01/05/11 Page|D.33 Page 33 Of 35

§

pursuing patient advocacy by following the chain of
command where indicated and under the facts of the case.

E. , ln negligently granting privileges to Defendant Bates to
perform complex surgical repair of injuries to the bladder
and/or vagina as presented by the facts ot` this case.

F. ln other ways not presently known.
64. That Alpcna Regional medical Center’s above described beaches of the standard

ot` care and negligence directly and proximately caused the damages described above.

65 . That Alpena Regional Medical Center held out and provided Defendant Williams,
Defendant Bates and other sta&` members, employees and agents as well trained, experienced and
competent to treat its patients, and specifically .Plaintiff J essica Spragg.

66. 'Ihat Defendant, Alpena chional medical Center owed to the Plainti& a duty to
select, employ, and retain only competent physicians and to use reasonable care in the issuance,
extension and continuation of medical staff privileges to members of its medical staff, including
specifically Dcf`endant Williams and Defendant Bates. b

l 67. That the Defendant Alpena Regional Medical Center breached the above
described duties and was negligent when it failed to use reasonable care and diligence in the
investigation granting, extension and continuation of medical staff privileges to Defendant
Williams and Defendant Bates. Such Negligence includes, but is not limited to, failing to
confirm/verify their educational background7 training, and/or experience, post graduate traiuing,
board certification, previous surgical experiencc, surgical outcomes, incidence of complications,
current clinical competence, reputation, past professional affiliations and employment
experience

68. That the above described breaches of duties by Defendant Alpena Regio'nal

Medical Ceuter were a direct and proximate cause ofthe damages sustained by the Plaintift`s.

13 +- l

 

CaSe lill-CV-lOOBG-TLL-CEB ECF NO. 1 filed 01/05/11 Page|D.34 Page 34 Of 35

l
v t

WHEREFOR.E, Plaintiffs demand judgment against the Defendants jointly and severally
' in whatever amount Plaintiti`s are found to be entitled, together with costs, interest and
reasonable attorney fees. y
_C_Q,.U.l`il`.Y_

69. `That Plaintiffs herein reassert and reallege each and every allegation contained in
paragraphs one through sixty-eight of this Complaint as if set forth herein word for word and
paragraph for paragraph

70. ' That at all times relevant hereto, Plaintif.t` Matthew Spragg, is the lawful husband
and spouse of Plaintiii` Jessica Spragg. l

7l. ’l`hat as a direct and proximate result of the aforesaid injuries sustained by Jessica
Spragg, Matthew Spragg has suffered the loss of society, services, ncompanionship, comfort and
consortium of Jessica Spragg and that said damages will continue into the future.

Wheret`ore, Plaintift`s demand judgment against the Defendants in whatever amount
Plaintiffs arc found to be entitled, together with costs, interest and reasonable attorney fees.

raw oFFICEs on
BBNNER AND FonAN

l:)§m:i~i§Q/m v

BRIAN J. Bhi<tnnn (P252`39)
DAVID A. PRIEHS (P39606)
, Attorneys for Plaintiffs
28116 Orchard Lal<e Road
Farmington Hills, Ml 48334
248-737-5544/FAX: 248-737~5545
Dated: October 27, 2010

~,é sir

 

CaSe lill-CV-lOOBG-TLL--CEB ECF NO. 1 filed 01/05/11 Page|D.SB Page 35 Of 35

1 k

EMAND FOR TRIAL BY JURY

_I_J___,,_,,_______.___,----

NOW COME Plaindffs hecein, by_ and'through their attomeys, Benner and Foran, and

hereby demand a triél by jury in the»above entitled cause.

`Dated: October 27, 2010

LAW OFFICES OF:
BENNBR AND FORAN

BW§ :€:\Q/MQ~

BRIAN `J BENI~£E§ (P25239)

DAVID A, PRJEHS (P39606)
, Attorneys for Plaintiffs

28116 Orchard Lake Road

Farmington Hills, M] 48334

(243) 737-5544

. "1,5; .4

 

